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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

 GEORGE ANTHONY COLLIER                                CIVIL ACTION NO. 21-0338

                                                       SECTION P
 VS.
                                                       JUDGE TERRY A. DOUGHTY

 KEVIN WYLES                                           MAG. JUDGE KAYLA D. MCCLUSKY


                                          JUDGMENT

         The Report and Recommendation of the Magistrate Judge having been considered, no

 objections thereto having been filed, and finding that same is supported by the law and the record

 in this matter,

         IT IS ORDERED, ADJUDGED, AND DECREED that this proceeding is

 DISMISSED WITHOUT PREJUDICE for lack of jurisdiction.

         MONROE, LOUISIANA, this 12th day of May, 2021.




                                                   ______________________________________
                                                   TERRY A. DOUGHTY
                                                   UNITED STATES DISTRICT JUDGE
